Case 14-10979-CSS Doc 11870-14 Filed 09/06/17 Pageiof8

EXHIBIT 8-A

Notice of Assumption

Case 14-10979-CSS Doc 11870-14 Filed 09/06/17 Page 2of8

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11

ENERGY FUTURE HOLDINGS CORP., et al.,! Case No. 14-10979 (CSS)

Debtors. Jointly Administered

Nw Nee Nee ee Ne ee ee eee”

NOTICE REGARDING EXECUTORY CONTRACTS AND
UNEXPIRED LEASES TO BE ASSUMED PURSUANT TO THE PLAN

PLEASE TAKE NOTICE THAT on [ ], 2017, the United States
Bankruptcy Court for the District of Delaware (the “Court”) entered an order [D.I. |
(the “EFH Disclosure Statement Order”): (a) authorizing Energy Future Holdings Corp. (“EFH
Corp.”), certain of its direct and indirect subsidiaries (together with EFH Corp., the “EFH
Debtors”),” Energy Future Intermediate Holding Company LLC (“EFIH”), and EFIH Finance,
Inc. (together with EFIH, the “EFIH Debtors,” and together with the EFH Debtors,
the “EFH/EFIH Debtors”) to solicit acceptances to the First Amended Joint Plan of
Reorganization of Energy Future Holdings Corp., Energy Future Intermediate Holding
Company LLC, and the EFH/EFIH Debtors Pursuant to Chapter 11 of the Bankruptcy Code
[D.I. | (as may be modified, amended, or supplemented from time to time, the “Plan”);?
(b) approving the Disclosure Statement for the First Amended Joint Plan of Reorganization of
Energy Future Holdings Corp., Energy Future Intermediate Holding Company LLC, and the
EFH/EFIH Debtors Pursuant to Chapter 11 of the Bankruptcy Code, including all exhibits and
schedules thereto [D.I. ] (as may be modified, amended, or supplemented from time to
time, the “EFH Disclosure Statement”) as containing “adequate information” pursuant to
section 1125 of the Bankruptcy Code; (c) approving the solicitation materials and documents to
be included in the solicitation packages; (d) approving procedures for soliciting, receiving, and
tabulating votes on the Plan; and (e) establishing certain protocols in connection with those
proceedings.

! The Jast four digits of Energy Future Holdings Corp.’s tax identification number are 8810. The location of the

debtors’ service address is 1601 Bryan Street, Dallas, Texas 75201. Due to the large number of debtors in these
chapter 11 cases, which are being jointly administered, a complete list of the debtors and the last four digits of
their federal tax identification numbers is not provided herein. A complete list of such information may be
obtained on the website of the debtors’ claims and noticing agent at http://www.efhcaseinfo.com.

2 The other EFH Debtors are Ebasco Services of Canada Limited, EEC Holdings, Inc., EECI, Inc., EFH Australia
(No. 2) Holdings Company, EFH Finance (No. 2) Holdings Company, EFH FS Holdings Company, EFH
Renewables Company LLC, Generation Development Company LLC, LSGT Gas Company LLC, LSGT
SACROC, Inc., NCA Development Company LLC, and TXU Receivables Company.

Capitalized terms not otherwise defined herein shall have the same meanings set forth in the Plan.
Case 14-10979-CSS Doc 11870-14 Filed 09/06/17 Page 3o0f8

PLEASE TAKE FURTHER NOTICE THAT on [ ], 2017, the
EFH/EFIH Debtors filed the Plan Supplement for the First Amended Joint Plan of
Reorganization of Energy Future Holdings Corp., Energy Future Intermediate Holding
Company LLC, and the EFH/EFIH Debtors Pursuant to Chapter 11 of the Bankruptcy Code
[D.I.___] (the “Plan Supplement”).

PLEASE TAKE FURTHER NOTICE THAT the EFH/EFIH Debtors filed the List of
Executory Contracts and Unexpired Leases to be Assumed by Reorganized EFH/EFIH Debtors
on the EFH Effective Date (the “Assumption Schedule”) with the Court as part of the Plan
Supplement. The determination to assume the agreements identified on the Assumption
Schedule is subject to revision.

PLEASE TAKE FURTHER NOTICE THAT the hearing at which the Court will
consider Confirmation of the Plan (the “EFH Confirmation Hearing”) will commence at a time
and date to be determined, before the Honorable Christopher S. Sontchi, in the United States
Bankruptcy Court for the District of Delaware, located at 824 North Market Street, Fifth Floor,
Courtroom 6, Wilmington, Delaware 19801. Upon such time that the EFH Confirmation
Hearing is scheduled, a supplemental notice of hearing shall be provided, in accordance with the
EFH Disclosure Statement Order. The EFH Confirmation Hearing may be continued.

PLEASE TAKE FURTHER NOTICE THAT you are receiving this notice because the
EFH/EFIH Debtors’ records reflect that you are a party to a contract that is listed on the
Assumption Schedule. Therefore, you are advised to review carefully the information contained
in this notice and the related provisions of the Plan, including the Assumption Schedule.

PLEASE TAKE FURTHER NOTICE that the EFH/EFIH Debtors are proposing to
assume the Executory Contract(s) and Unexpired Lease(s) to which you are a party, as listed on
Exhibit A attached hereto.4 Pursuant to the Plan, the Plan Sponsor, Reorganized EFH, and
Reorganized EFIH, as applicable, reserve the right to alter, amend, modify, or supplement the
EFH/EFIH Assumed Executory Contract and Unexpired Lease List and the schedules of
Executory Contracts and Unexpired Leases with respect to EFH, Reorganized EFH, EFIH, and
Reorganized EFIH at any time through and including 45 days after the EFH Effective Date,
without incurrence of any penalty or changing the priority or security of any Claim as a result of
such treatment change.

Neither the exclusion nor inclusion of any Executory Contract or Unexpired Lease on the Assumption Schedule,
nor anything contained in the Plan or each EFH/EFIH Debtor’s schedule of assets and liabilities, shall constitute
an admission by the EFH/EFIH Debtors that any such contract or lease is in fact an Executory Contract or
Unexpired Lease capable of assumption, that any Reorganized EFH/EFIH Debtor(s) has any liability thereunder
or that such Executory Contract or Unexpired Lease is necessarily a binding and enforceable agreement.
Further, the EFH/EFTH Debtors expressly reserve the right to (a) remove any Executory Contract or Unexpired
Lease from the Assumption Schedule and reject such Executory Contract or Unexpired Lease pursuant to the
terms of the Plan and (b) contest any Claim (or cure amount) asserted in connection with assumption of any
Executory Contract or Unexpired Lease.
Case 14-10979-CSS Doc 11870-14 Filed 09/06/17 Page 4of8

PLEASE TAKE FURTHER NOTICE THAT section 365(b)(1) of the Bankruptcy
Code requires a chapter 11 debtor to cure, or provide adequate assurance that it will promptly
cure, any defaults under executory contracts and unexpired leases at the time of assumption.
Accordingly, the EFH/EFIH Debtors have conducted a thorough review of their books and
records and have determined the amounts required to cure defaults, if any, under the Executory
Contract(s) and Unexpired Lease(s), which amounts are listed on Exhibit A. Please note that if
no amount is stated for a particular Executory Contract or Unexpired Lease, the EFH/EFIH
Debtors believe that there is no cure amount outstanding for such contract or lease.

PLEASE TAKE FURTHER NOTICE THAT absent any pending dispute, the
monetary amounts required to cure any existing defaults arising under the Executory Contract(s)
and Unexpired Lease(s) identified in Exhibit A will be satisfied, pursuant to section 365(b)(1) of
the Bankruptcy Code, by the EFH/EFIH Debtors in Cash on the EFH Effective Date or as soon
as reasonably practicable thereafter. In the event of a dispute, however, payment of the cure
amount would be made following the entry of a final order(s) resolving the dispute and
approving the assumption. If an objection to the proposed assumption or related cure amount is
sustained by the Court, however, the EFH/EFIH Debtors, in their sole option, may elect to reject
such Executory Contract or Unexpired Lease in lieu of assuming it.

PLEASE TAKE FURTHER NOTICE THAT each Executory Contract and Unexpired
Lease reflected on the Assumption Schedule and assumed pursuant to the Plan or by any order of
the Bankruptcy Court, which has not been assigned to a third party before the EFH/EFIH
Confirmation Date, shall revest in and be fully enforceable by the Reorganized EFH/EFIH
Debtors in accordance with its terms, except as such terms are modified by the Plan or any order
of the Bankruptcy Court authorizing and providing for its assumption under applicable federal
law.

Objection Deadline. The deadline for filing preliminary objections to the Plan and
objections to a proposed assumption or related cure amount is October 30, 2017
(the “Preliminary Plan Objection Deadline”); the deadline to file final objections to the Plan will
be determined at a later date, but in no event shall such objection deadline occur later than
December 19, 2017 (the “Final Plan Objection Deadline”). Only those parties who file an
objection to the Plan on or before the Preliminary Plan Objection Deadline shall be permitted to
file a final objection to the Plan, unless otherwise ordered by the Bankruptcy Court. All
objections to the relief sought at the EFH Confirmation Hearing must: (a) be in writing;
(b) conform to the Bankruptcy Rules, the Local Rules, and any orders of the Court; (c) state, with
particularity, the legal and factual basis for the objection and, if practicable, a proposed
modification to the Plan (or related materials) that would resolve such objection; and (d) be filed
with the Court (contemporaneously with a proof of service) and served upon the following
parties so as to be actually received on or before the Preliminary Plan Objection Deadline and
the Final Plan Objection Deadline, as applicable:

Case 14-10979-CSS Doc 11870-14 Filed 09/06/17 Page 5of8

KIRKLAND & ELLIS LLP RICHARDS, LAYTON & FINGER, P.A.
Attn: Edward O. Sassower, P.C. Attn: Mark D. Collins, Esq.
Attn: Stephen E. Hessler, P.C. Attn: Daniel J. DeFranceschi, Esq.
Attn: Brian E. Schartz, Esq. Attn: Jason M. Madron, Esq.
Attn: Aparna Yenamandra, Esq. 920 North King Street
601 Lexington Avenue Wilmington, Delaware 19801

New York, New York 10022

Attn: James H.M. Sprayregen, P.C.
Attn: Marc Kieselstein, P.C.
Attn: Chad J. Husnick, P.C.

Attn: Steven N. Serajeddini, Esq.
300 North LaSalle
Chicago, Illinois 60654

Co-Counsel to the Debtors

PROSKAUER ROSE LLP. BIELLI & KLAUDER, LLP

Attn: Mark K Thomas, Esq. Attn: David M. Klauder, Esq.
Attn: Peter J. Young, Esq. 1204 N. King Street
Three First National Plaza Wilmington, DE 19801

70 W. Madison ST STE 3800
Chicago, IL 60602

Co-Counsel to Energy Future Holdings Corp.

CRAVATH, SWAIN, & MOORE LLP STEVENS & LEE, P.C.
Attn: Michael A Paskin, Esq. Attn: Joseph H. Huston, Jr.
Worldwide Plaza 919 Market Street, Suite 1300

825 Eighth Ave Wilmington, DE 19801

New York, NY 10019-7475

JENNER & BLOCK LLP

Attn: Richard Levin, Esq.

919 Third Ave

New York, NY 10022-3908

Co-Counsel to Energy Future Intermediate Holding Company LLC

THE OFFICE OF THE UNITED STATES TRUSTEE FOR THE DISTRICT OF DELAWARE
Attn: Richard L. Schepacarter, Esq.
Attn: Andrea B. Schwartz, Esq.
844 King Street, Suite 2207
Wilmington, Delaware 19801

SULLIVAN & CROMWELL LLP MONTGOMERY, MCCRACKEN, WALKER, &
Attn: Andrew G. Dietderich, Esq. RHOADS LLP
Atin: Brian D. Glueckstein, Esq. Attn: Natalie D. Ramsey, Esq.
Attn: Michael H. Torkin, Esq. Attn: Davis Lee Wright, Esq.
125 Broad St. Attn: Mark A. Fink, Esq.
New York, NY 10004 1105 N. Market St 15th FL

Wilmington, DE 19801

Co-Counsel to the EFH Creditors’ Committee

PLEASE TAKE FURTHER NOTICE THAT any objections to Plan in connection
with the assumption of the Executory Contract(s) and Unexpired Lease(s) identified above
and/or related cure or adequate assurances proposed in connection with the Plan that remain
unresolved as of the EFH Confirmation Hearing will be scheduled to be heard by the Bankruptcy
Court at the EFH/EFIH Debtors’ or Reorganized EFH/EFIH Debtors’, as applicable, first
scheduled omnibus hearing after which such objection is timely filed. In the event of a dispute

Case 14-10979-CSS Doc 11870-14 Filed 09/06/17 Page 6of8

regarding (1) the amount of any payments to cure such a default, (2) the ability of the
Reorganized EFH/EFIH Debtors or any assignee to provide “adequate assurance of future
performance” (within the meaning of section 365 of the Bankruptcy Code) under the Executory
Contract or Unexpired Lease to be assumed by the EFH/EFIH Debtors, or (3) any other matter
pertaining to assumption, the cure payments required by section 365(b)(1) of the Bankruptcy
Code shall be made following the entry of a Final Order resolving the dispute and approving the
assumption. (or such other date as fixed by the Court).

PLEASE TAKE FURTHER NOTICE THAT any counterparty to an
Executory Contract that fails to object timely to the proposed assumption or cure
amount will be deemed to have assented to such assumption and cure amount.

PLEASE TAKE FURTHER NOTICE THAT ASSUMPTION OF ANY
EXECUTORY CONTRACT OR UNEXPIRED LEASE PURSUANT TO THE PLAN OR
OTHERWISE SHALL RESULT IN THE FULL RELEASE AND SATISFACTION OF
ANY CLAIMS OR DEFAULTS, WHETHER MONETARY OR NONMONETARY,
INCLUDING DEFAULTS OF PROVISIONS RESTRICTING THE CHANGE IN
CONTROL OR OWNERSHIP INTEREST COMPOSITION OR OTHER
BANKRUPTCY-RELATED DEFAULTS, ARISING UNDER ANY ASSUMED
EXECUTORY CONTRACT OR UNEXPIRED LEASE AT ANY TIME BEFORE THE
DATE OF THE EFH/EFIH DEBTORS OR REORGANIZED EFH/EFIH DEBTORS
ASSUME SUCH EXECUTORY CONTRACT OR UNEXPIRED LEASE. ANY PROOFS
OF CLAIM FILED WITH RESPECT TO AN EXECUTORY CONTRACT OR
UNEXPIRED LEASE THAT HAS BEEN ASSUMED SHALL BE DEEMED
DISALLOWED AND EXPUNGED, WITHOUT FURTHER NOTICE TO OR ACTION,
ORDER OR APPROVAL OF THE BANKRUPTCY COURT.

PLEASE TAKE FURTHER NOTICE THAT if you would like to obtain a copy of the
EFH Disclosure Statement, the Plan, the Plan Supplement or related documents, you should
contact Epiq Bankruptcy Solutions, LLC, the Solicitation Agent retained by the Debtors in these
Chapter 11 Cases, by: (a) calling the Debtors’ restructuring hotline at (877) 276-7311;
(b) visiting the Debtors’ restructuring website at: http://www.efhcaseinfo.com; and/or (c) email
to efhvote@epiqsystems.com and reference “EFH/EFIH” in the subject line. You may also
obtain copies of any pleadings filed in these Chapter 11 Cases for a fee via PACER at:
http://www.deb.uscourts.gov.

ARTICLE VIII OF THE PLAN CONTAINS RELEASE, EXCULPATION
AND INJUNCTION PROVISIONS, AND ARTICLE VIILD. CONTAINS A THIRD-
PARTY RELEASE. THUS, YOU ARE ADVISED TO REVIEW AND CONSIDER THE
PLAN CAREFULLY BECAUSE YOUR RIGHTS MIGHT BE AFFECTED THEREUNDER.

THIS NOTICE IS BEING SENT TO YOU FOR INFORMATIONAL PURPOSES ONLY.
IF YOU HAVE QUESTIONS WITH RESPECT TO YOUR RIGHTS UNDER THE PLAN
OR ABOUT ANYTHING STATED HEREIN OR IF YOU WOULD LIKE TO OBTAIN
ADDITIONAL INFORMATION, CONTACT EPIQ BANKRUPTCY SOLUTIONS, LLC.

Case 14-10979-CSS Doc 11870-14 Filed 09/06/17 Page 7of8

Wilmington, Delaware

Dated: | |, 2017

DRAFT

RICHARDS, LAYTON & FINGER, P.A.
Mark D. Collins (No. 2981)

Daniel J. DeFranceschi (No. 2732)

Jason M. Madron (No. 4431)

920 North King Street

Wilmington, Delaware 19801

Telephone: (302) 651-7700

Facsimile: (302) 651-7701

Email: collins@rlf.com
defranceschi@rlf.com
madron@rlf.com

-and-

KIRKLAND & ELLIS LLP

KIRKLAND & ELLIS INTERNATIONAL LLP
Edward O. Sassower, P.C. (admitted pro hac vice)
Stephen E. Hessler, P.C. (admitted pro hac vice)
Brian E. Schartz (admitted pro hac vice)

Aparna Yenamandra (admitted pro hac vice)

601 Lexington Avenue

New York, New York 10022-4611

Telephone: (212) 446-4800

Facsimile: (212) 446-4900

Email: edward.sassower@kirkland.com
stephen. hessler@kirkland.com
brian.schartz@kirkland.com

aparna.yenamandra@kirkland.com
-and-

James H.M. Sprayregen, P.C. (admitted pro hac vice)

Marc Kieselstein, P.C. (admitted pro hac vice)

Chad J. Husnick, P.C. (admitted pro hac vice)

Steven N. Serajeddini (admitted pro hac vice)

300 North LaSalle

Chicago, Illinois 60654

Telephone: (312) 862-2000

Facsimile: (312) 862-2200

Email: james.sprayregen@kirkland.com
marc.kieselstein@kirkland.com
chad. husnick@kirkland.com
steven.serajeddini@kirkland.com

Co-Counsel to the Debtors and Debtors in Possession
Case 14-10979-CSS Doc 11870-14 Filed 09/06/17 Page 8of8

Exhibit A
oe Amount
Description of. | . | Required to Details of -
Ref. # Debtor(s) Contract or Counterparty Counterparty Cure Default Material Assumption
Address . Date
Lease Thereunder, |-Amendments

if any.

